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11
12
                            UNITED STATES DISTRICT COURT
13
                          CENTRAL DISTRICT OF CALIFORNIA
14
15
16    MOSAFER INC.; MOSAFER ECON,           Case No. 2:21-cv-06320-MCS-JC
      INC.; AND GOMOSAFER,
17                                          DEFENDANT THE IRON GROUP
                        Plaintiffs,
18                                          INC. D/B/A IRONISTIC.COM’S
            v.                              NOTICE OF MOTION TO STRIKE
19                                          (CAL. CODE OF CIV. PROC. §
      ELLIOT BROIDY; GEORGE
20    NADER; BROIDY CAPITAL                 425.16) OR, IN THE
      MANAGEMENT, LLC; CIRCINUS,            ALTERNATIVE, MOTION TO
21    LLC; THE IRON GROUP INC.              DISMISS PURSUANT TO FED. R.
      D/B/A IRONISTIC.COM; SCL
22    SOCIAL LIMITED; PROJECT               CIV. PROC. RULE 12(b)(6);
      ASSOCIATES UK LTD; MATTHEW            MEMORANDUM OF POINTS &
23    ATKINSON; AND JOHN DOES 1-            AUTHORITIES IN SUPPORT
      100,
24                                          THEREOF
                        Defendants.
25                                          Date:      December 13, 2021
26                                          Time:      9:00 A.M.
                                            Courtroom: 7C, Hon. Mark C. Scarsi
27
28
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 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE THAT on December 13, 2021 at 9:00 a.m. or as soon
 3    thereafter as this matter may be heard in Courtroom 7C of the above-entitled court,
 4    located at 350 W. 1st Street, Los Angeles, California 90012, Defendant The Iron Group
 5    Inc. d/b/a/ Ironistic.com (“Ironistic”) will and hereby does move the Court for an order
 6    striking all California state law claims against Ironistic pursuant to California Civil
 7    Procedure section 425.16 and dismissing Plaintiffs’ Lanham Act claim against Ironistic
 8    pursuant to Federal Rules of Civil Procedure 12(b)(6), or, in the alternative, dismissing
 9    Plaintiffs’ Complaint against Ironistic in its entirety pursuant to Federal Rules of Civil
10    Procedure 12(b)(6).
11          This Motion is based upon this Notice, the attached Memorandum of Points and
12    Authorities, upon the complete records and files in this action, and upon such further
13    argument as may be presented prior to or at the time of hearing on the Motion.
14          This Notice is given following the conference of counsel pursuant to Local Rule
15    7-3, which took place on October 21, 2021.
16
17     Dated: November 1, 2021              AKIN GUMP STRAUSS HAUER & FELD LLP
18
19                                          By:     /s/ Hyongsoon Kim
                                                  Hyongsoon Kim
20
                                                  Attorneys for Defendant
21                                                THE IRON GROUP INC. D/B/A
                                                  IRONISTIC.COM
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2     I.     INTRODUCTION
 3            A travel company cannot sue someone merely for creating a website criticizing the
 4     country where the travel company does business. That should go without saying. But
 5     that is Plaintiffs’ complaint against Ironistic. If allowed to proceed, Plaintiffs’ theory of
 6     liability could equally apply to the millions of people and companies who write, post,
 7     publish, or comment about another country. This fundamentally defective complaint
 8     should be stricken pursuant to California’s anti-SLAPP statute or, alternatively, dismissed
 9     in its entirety.
10            Plaintiffs Mosafer Inc., Mosafer Econ, Inc., and Gomosafer (collectively,
11     “Plaintiffs”) allege they are “Qatari related” luggage and travel accessory retailers.
12     Defendant The Iron Group Inc. d/b/a Ironsitic.com (“Ironistic”) is a digital website
13     development company based in Virginia. Plaintiffs do not allege that they have had any
14     dealings, communications, or contact whatsoever with Ironistic.
15            Plaintiffs allege that Ironistic “created” three websites that criticized the country of
16     Qatar, and identify three statements about Qatar made on publicly accessible websites and
17     social media accounts. But Plaintiffs do not allege that the websites mentioned Plaintiffs
18     or Plaintiffs’ products or services. Rather, the alleged statements are political in nature
19     and related to the State of Qatar, human rights abuses, boycotts, and ties to terrorism.
20     Plaintiffs claim they were harmed because some unstated number of unnamed customers
21     might have seen these websites and developed a negative opinion about Qatar. Plaintiffs
22     then speculate that such potential unnamed customers decided not to purchase goods or
23     services from Plaintiffs, for the sole reason that Plaintiffs are some of the countless
24     businesses associated with Qatar.
25            Even assuming their claims to be true, Plaintiffs’ claims should be stricken because
26     they go to the heart of what the anti-SLAPP statute protects—statements made in public
27     forums about topics of public interest. Further, Plaintiffs’ claims are fundamentally
28     defective. Plaintiffs have brought a series of claims based in false advertising law. To

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 1     say this is a stretch is an understatement. There is no allegation that any statement
 2     attributed to Ironistic mentions Plaintiffs, their products, or their services. There is no
 3     allegation (nor could there be) that Ironistic was competing with Plaintiffs. There is no
 4     suggestion that Ironistic even knew of Plaintiffs’ existence. Also absent is any allegation
 5     that a single specific person actually saw a statement on a website or social media site
 6     allegedly created by Ironistic, and in reliance on such statement chose not to pursue
 7     business from Plaintiffs. And despite Plaintiffs’ conclusory suggestion of a “conspiracy,”
 8     the Complaint contains zero allegations connecting Ironistic to any other defendant.
 9              The ramifications of allowing Plaintiffs to pursue such claims would be
10     breathtaking and far-reaching. Anyone who publishes something negative about another
11     country on the Internet could be sued by any business in, or even related to, that country.
12     If a celebrity releases a statement on her popular Twitter account criticizing China’s
13     record on human rights, can a Chinese hotel sue her? Surely not. But that is Plaintiffs’
14     claim.
15              Because this lawsuit triggers California’s anti-SLAPP protections and Plaintiffs
16     cannot show a likelihood of success on their claims, this Court should strike Plaintiffs’
17     claims. Alternatively, this Court should dismiss Plaintiffs’ claims against Ironistic in their
18     entirety.
19     II.      FACTUAL ALLEGATIONS AGAINST IRONISTIC
20              Ironistic is alleged to have “created” three websites—Qatarexposed.com,
21     Qatartruth.com, and BoycottQatarnow.com—“to disseminate false information and
22     control the public’s perception of Qatari businesses.” Compl., ¶ 80. There is no
23     explanation as to what “created” means. No language from any of these websites is
24     quoted anywhere in the Complaint. Nor does the Complaint describe the substance of
25     any specific portion of these websites, except to generally assert that each website “held
26     itself out to provide important news and information to readers seeking help to understand
27     the concerted business embargo” related to Qatari businesses. Id. at ¶ 81. The Complaint
28     does not allege that any of these websites mentioned Plaintiffs in any way. The Complaint

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 1     only generally and vaguely describes these websites as “contain[ing] significant
 2     disinformation intended to deceive the public” and “harm Qatari-related businesses, such
 3     as Mosafer . . . .” Id., ¶ 81. The Complaint does not allege any facts describing how any
 4     part of the webpages were false. The Complaint does not allege that any specific person
 5     viewed any of the webpages described in paragraph 80 of the Complaint.
 6           Ironistic is also alleged to have created material asking unspecified individuals to
 7     “Boycott Qatar Airways for their human rights abuses” and that such material was
 8     uploaded to an unspecified location on May 22, 2017. Id., ¶ 82. Although the Complaint
 9     claims the image was an “advertisement,” the Complaint does not suggest or even imply
10     that the image was promoting any product, much less a competing product.
11           The Complaint also describes certain content on a “QatarExposed” Facebook
12     account and Twitter account. Id., ¶ 83. It is unclear why the Complaint describes these
13     social media accounts. The Complaint mentions certain content on the QatarExposed
14     Facebook page. Id. Plaintiffs allege a photo was uploaded on October 12, 2017 with the
15     caption “Expose Qatar’s links with extremists.         Stop the flow of blood money.
16     #sanctionQatar.’” Id. And, Plaintiffs allege a video was uploaded on October 14, 2017
17     with the caption “ISIS is just one of Qatar’s many pawns. Uncover Qatar’s links with
18     extremists.” Id. But the Complaint does not allege Ironistic created these social media
19     accounts, uploaded any content to these social media accounts, or indeed was involved in
20     any way with these accounts.
21           The Complaint then states that Ironistic created unnamed “social media accounts,”
22     (but does not allege that these accounts are the ones described in Paragraph 83). Id., ¶ 84.
23     The Complaint also alleges that Ironistic “took out advertisements” that “targeted
24     individuals in California” (id.), but provides no details about these accounts or
25     advertisements or how such accounts or advertisements “targeted individuals in
26     California.”
27           Finally, although the Complaint broadly accuses Ironistic of participating in a
28     “Disinformation Conspiracy” (Compl. at p. 21 header), the Complaint does not contain a

                                                    3
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 1     single allegation connecting Ironistic to any of the other Defendants. Ironistic is not
 2     alleged to have known the other Defendants or worked at the behest of or in cooperation
 3     with any of the other Defendants.
 4            Based on these bare allegations, Plaintiffs assert the following claims against
 5     Ironistic: (i) violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §
 6     17200, et seq. (id., ¶¶ 98-105); (ii) violation of California’s False Advertising Law, Cal.
 7     Bus. & Prof. Code § 17500, et seq. (id., ¶¶106-113); (iii) trade libel under California
 8     common law (id., ¶¶ 122-126); (iv) negligence under California common law (id., ¶¶ 127-
 9     131); and (v) false advertising under the Lanham Act, 15 U.S.C. § 1125(a)(1)(B) (id., ¶¶
10     114-121).1
11     III.   PLAINTIFFS’ STATE LAW CLAIMS SHOULD BE STRICKEN UNDER
              THE ANTI-SLAPP STATUTE
12
              A.     Legal Standard Governing Anti-SLAPP Motions
13
              California’s anti-SLAPP statute was enacted to provide a mechanism for courts “to
14
       dismiss at an early stage non-meritorious litigation meant to chill the valid exercise of the
15
       constitutional rights of freedom of speech and petition in connection with a public issues.”
16
       Damon v. Ocean Hills Journalism Club, 85 Cal. App. 4th 468, 473 (2000) (quoting Sipple
17
       v. Found. for Nat’l Progress, 71 Cal. App. 4th 226, 235 (1999)). The anti-SLAPP statute
18
       provides that:
19
              A cause of action against a person arising from any act of that person in
20            furtherance of the person’s right of petition or free speech under the United
21            States Constitution or the California Constitution in connection with a public
              issue shall be subject to a special motion to strike, unless the court determines
22            that the plaintiff has established that there is a probability that the plaintiff will
23            prevail on the claim.
24     Cal. Civ. Proc. Code § 425.16(b)(1).

25
26     1
         Ironistic is not moving to strike Plaintiffs’ Lanham Act claim. See Verizon Delaware,
       Inc. v. Covad Commc’ns. Co., 377 F.3d 1081, 1091 (9th Cir. 2007); Bulletin Displays,
27     LLC v. Regency Outdoor Adver., Inc., 448 F.Supp. 2d 1172, 1181-82 (C.D. Cal. 2006).
       Rather, Ironistic moves to dismiss Plaintiffs’ Lanham Act claim for failure to state a claim
28     under Fed. R. Civ. Proc. 12(b)(6). See Section (IV)(B).
                                                       4
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 1            Evaluation of an anti-SLAPP motion requires two steps. First, the court decides
 2     whether the defendant has made a prima facie showing that the plaintiff’s suit arises from
 3     an act in furtherance of defendant’s right of petition or free speech. Vess v. Ciba-Geigy
 4     Corp., 317 F.3d 1097, 1110 (9th Cir. 2003). The defendant can make such a showing by
 5     establishing that Plaintiffs’ suit “aris[es] from” an act “in furtherance” of their right to free
 6     speech “in connection with a public issue.” Cal. Civ. Proc. Code § 425.16(b)(1). The
 7     anti-SLAPP statute defines protected activities to include statements Plaintiffs alleges
 8     were (1) made in a “public forum” and (2) in connection with an issue of “public interest.”
 9     Id. at §§ 425.16(e)(3). The anti-SLAPP statute expressly provides for broad construction
10     to ensure the full protection of free speech. Id. at § 425.16(a) (“[C]ontinued participation
11     in the matters of public significance . . . should not be chilled through the abuse of the
12     judicial process. To this end, this section shall be construed broadly.”).
13            Once the defendant makes a showing that the plaintiff’s suit arises from an act in
14     furtherance of defendant’s right of petition or free speech, the burden shifts to the plaintiff
15     to demonstrate a probability of prevailing on the challenged claim. Id. Where an anti-
16     SLAPP motion is based on legal deficiencies in the plaintiff’s complaint, the court must
17     determine the motion in a manner that complies with the pleading standards set by Federal
18     Rules 8, 9(b) and 12. Lauter v. Anoufrieva, 642 F.Supp. 2d 1060, 1109 (C.D. Cal. 2008).
19            B.     Plaintiffs' Claims Are Subject To California's Anti-SLAPP Statute And
                     Should Be Stricken
20
              Ironistic brings this anti-SLAPP motion to strike Plaintiffs’ state law claims.
21
       Verizon Delaware, Inc. v. Covad Commc’ns. Co., 377 F.3d 1081, 1091 (9th Cir. 2007)
22
       (defendants sued in federal court can bring anti-SLAPP motions to strike state law
23
       claims). Plaintiffs’ claims arise out of alleged acts in furtherance of Ironistic’s right of
24
       freedom of speech in connection with public issues, and because Plaintiffs are unable to
25
       prevail on these claims, each should be stricken.
26
27
28

                                                      5
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 1                  1.     Plaintiffs’ Complaint Arises out of an Act In Furtherance of
                           Ironistic’s Right of Free Speech
 2
             As detailed below, Ironistic easily satisfies its initial burden of making a prima
 3
       facie showing that Plaintiffs’ claims arise from protected activity, i.e., statements made
 4
       in (1) a public forum and (2) in connection with an issue of public interest. Cal. Civ.
 5
       Proc. Code §§ 425.16(e)(3), (4).
 6
                           a)    The Alleged Statements Were Made in a Public Forum.
 7
             The California Supreme Court has held that “Web sites accessible to the public . . .
 8
       are ‘public forums’ for purposes of the anti-SLAPP statute.” Barrett v. Rosenthal, 40 Cal.
 9
       4th 33, 41 n.4 (2006); see also Muddy Waters, LLC v. Super. Ct., 62 Cal. App. 5th 905,
10
       917-18 (2021) (reports published on Internet website available to public were made in
11
       public forum under section 425.16, even though website at issue did not allow for public
12
       response or comment). Likewise, publicly accessible social media websites and pages
13
       have been held to be public forums. See, e.g., Daniel v. Wayans, 8 Cal. App. 5th 367, 387
14
       (2017) (Twitter); Cross v. Facebook, Inc., 14 Cal. App. 5th 190, 199 (2017) (Facebook).
15
       Additionally, “a news publication is a ‘public forum’ within the meaning of the anti-
16
       SLAPP statute if it is a vehicle for discussion of public issues and it is distributed to a
17
       large and interested community.” Annette F. v. Sharon S., 119 Cal. App. 4th 1146, 1161
18
       (2004).
19
             Here, Plaintiffs allege that Ironistic created certain websites that allegedly
20
       disseminated “news and information” to the “public.” Compl., ¶¶ 80-83. Plaintiffs also
21
       cite certain social media accounts (although Plaintiffs do not attribute the content thereof
22
       to Ironistic). Id. Each of Plaintiffs’ claims against Ironistic hinge upon their allegation
23
       that statements made on these websites and social media accounts reached the “public.”
24
       See generally, id., ¶¶ 86-88. Assuming Plaintiffs’ allegations to be true, the statements at
25
       issue were indisputably made in a “public forum” under section 425.16. Barrett, 40 Cal.
26
       4th at 41 n.4.
27
28

                                                    6
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 1           Moreover, Ironistic is entitled to protection under California’s anti-SLAPP statute
 2     regardless of whether it was responsible for any content on the at-issue websites or social
 3     media accounts.     Courts have made clear that merely “[m]aintaining a forum for
 4     discussion of issues of public interest is a quintessential way to facilitate [free speech]
 5     rights, and [defendants have] no liability for doing so.” Hupp v. Freedom Commc’ns.,
 6     Inc., 221 Cal. App. 4th 398, 405 (2013) (striking claims where defendant maintained and
 7     operated a website that published articles of public interest, but was not itself responsible
 8     for creating or publishing the content at issue). Where, as here, “an action directly targets
 9     the way a content provider chooses to deliver, present, or publish . . . content on matters
10     of public interest, that action is based on conduct in furtherance of free speech rights and
11     must withstand scrutiny under California’s anti-SLAPP statute.” Cross, 14 Cal. App. 5th
12     at 199, 201-202 (quoting Greater Los Angeles Agency on Deafness v. CNN, Inc., 742 F.3d
13     414, 425 (9th Cir. 2014) (striking claims where defendant hosted social media pages, but
14     was not itself responsible for creating or publishing the content at issue).
15                         b)    The Alleged Statements Were in Connection with an Issue of
                                 Public Interest.
16
             California courts hold that whether an issue is one of public interest must be
17
       “construed broadly.” Gilbert v. Sykes, 147 Cal. App. 4th 13, 23 (2007). An “issue of
18
       public interest” within the meaning of section 425.16 is “any issue in which the public is
19
       interested.” Nygard, Inc. v. Uusi-Kerttula, 159 Cal. App. 4th 1027, 1042 (2008). “In
20
       other words, the issue need not be ‘significant’ to be protected by the anti-SLAPP
21
       statute—it is enough that it is one in which the public takes an interest.” Id. California
22
       courts have described three “nonexclusive and sometimes overlapping” categories of
23
       statements that have been given anti-SLAPP protection—statements that concern (1) “a
24
       person or entity in the public eye,” (2) “conduct that could directly affect a large number
25
       of people beyond the direct participants,” and/or (3) “a topic of widespread, public
26
       interest.” Cross v. Cooper, 197 Cal. App. 4th 357, 373 (2011) (quoting Rivero v. Am.
27
       Fed’n of State, Cty. & Mun. Emps., AFL-CIO, 105 Cal. App. 4th 913, 924 (2003)).
28

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 1           Plaintiffs allege generally that the websites and social media accounts allegedly
 2     created by Ironistic “provide[d] important news and information to readers seeking help
 3     to understand the concerted business embargo” against Qatar. Compl., ¶ 81. As examples,
 4     Plaintiffs allege that (1) Ironistic created materials stating “Boycott Qatar Airways for
 5     their human rights abuses” (id., ¶ 82); (2) a social media account published the statement
 6     “Expose Qatar’s links with extremists. Stop the flow of blood money. #sanctionQatar.”
 7     (id., ¶ 83); and (3) a social media account published the statement “ISIS is just one of
 8     Qatar’s many pawns. Uncover Qatar’s links with extremists.” (id.).
 9           Assuming Plaintiffs’ allegations to be true, each of these alleged statements is in
10     connection with an issue of public interest. Each of the alleged statements are political
11     statements that fall within the protection of California’s anti-SLAPP statute. Indeed,
12     “[t]he right to speak on political matters is the quintessential subject of our constitutional
13     protections of the right of free speech.” Matson v. Dvorak, 40 Cal. App. 4th 539, 548
14     (1995).
15           Moreover, courts have held that the specific topics of each of the alleged statements
16     (ties to terrorism, potential boycotts, and human rights abuses) are topics of public interest
17     that are protected by California’s anti-SLAPP statute. See Mireskandari v. Daily Mail &
18     Gen. Tr. PLC, No. CV 12-02943 MMM, 2013 WL 12114762, at *29 (C.D. Cal. Oct. 8,
19     2013) (striking claim arising from speech likening the plaintiff to a terrorist); Manwin
20     Licensing Int’l S.A.R.L. v. ICM Registry, LLC, No. CV 11-9514 PSG, 2013 WL 12123772,
21     at *11 (C.D. Cal. Feb. 26, 2013) (striking claims because “[b]oycotts are protected under
22     the anti-SLAPP statute”); Wilcox v. Super. Ct., 27 Cal. App. 4th 809, 822 (1994), (striking
23     claims based on allegation that petitioner engaged in conspiracy to conduct economic
24     boycott), disapproved on other grounds by Equilon Enters. v. Consumer Cause, Inc., 29
25     Cal 4th 53, 68 n.5 (2002); Orian v. Fed’n Int’l des Droits de L’Homme, No. CV 11-6904
26     PSG, 2011 WL 13220921, at *2 (C.D. Cal. Dec. 13, 2011) (striking claims based on
27     statements that the plaintiffs committed human rights abuses); Sedgwick Claims Mgmt.
28     Servs. v. Delsman, No. C 09-1468 SBA, 2009 WL 2157573, at *2, *8 (N.D. Cal. July 17,

                                                     8
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 1     2009) (striking claims arising from statement that plaintiff committed human rights
 2     violations intended to “enlighten potential consumers . . . to avoid using the company’s
 3     services”).
 4                   2.     The Commercial Speech Exemption Does Not Apply
 5            Should Plaintiffs argue that the at-issue statements are exempted from anti-SLAPP
 6     protection as commercial speech pursuant to California Code of Civil Procedure section
 7     427.15(c), that exemption is inapplicable. Section 427.15(c) exempts from anti-SLAPP
 8     protection lawsuits concerning (1) representations of fact about the defendant’s or a
 9     business competitor’s goods or services, (2) made for the purpose of promoting the
10     defendant’s business, (3) that were intended for an actual or potential buyer of the
11     defendant. Cal. Civ. Proc. Code § 427.15(c). The commercial speech exemption “should
12     be narrowly construed.” Simpson Strong-Tie Co., Inc. v. Gore, 49 Cal. 4th 12, 22 (2010)
13     (internal quotations omitted) (quoting Club Members for an Honest Election v. Sierra
14     Club, 45 Cal. 4th 309, 316 (2008)). “The burden of proof as to the applicability of the
15     commercial speech exemption … falls on the party seeking the benefit of it—i.e, the
16     plaintiff.” Id. at 26.
17            Plaintiffs have not alleged facts to show that the speech alleged in their complaint
18     is commercial speech. The Complaint describes Ironistic as a “full service digital
19     strategies and marketing companies that designs and builds websites and online marketing
20     campaigns.” Compl. ¶ 25. Plaintiffs do not allege facts showing that the at-issue
21     statements contained representations of fact about Ironistic’s or any of Ironistic’s business
22     competitors’ business operations, goods, or services. Cal. Civ. Proc. Code § 427.15(c)(1).
23     Plaintiffs do not allege facts showing that the at-issue statements made for the purpose of
24     promoting Ironistic’s goods or services. Id. And, Plaintiffs do not allege facts showing
25     that the intended audience was an actual or potential buyer or customer of Ironistic’s or
26     Ironistic’s business competitors’ services. Id.
27            To the contrary, Plaintiffs’ Complaint seeks redress for alleged political
28     statements aimed at the general public related to the State of Qatar, ties to terrorism,

                                                    9
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 1     potential boycotts, and human rights abuses. Compl., ¶¶ 80-84. As a result, Plaintiffs
 2     cannot establish that the alleged statements are commercial speech. Dean v. Friends of
 3     Pine Meadow, 21 Cal. App. 5th 91, 104-105 (2018) (finding that statements were
 4     political speech, not commercial speech exception, and holding that “a plaintiff cannot
 5     preclude a defendant from establishing that a cause of action arises out of protected
 6     activity simply by alleging there is some commercial element to the parties' dispute”).
 7                  3.     Plaintiffs Cannot Demonstrate a Probability of Success on their
                           UCL,2 FAL, Trade Libel, and Negligence Claims As A Matter Of
 8                         Law
 9           Because Plaintiffs’ Complaint and all of their claims against Ironistic hinge on
10     protected speech, the burden shifts to Plaintiffs to establish the probability of success for
11     their claims. As set forth below, even assuming all of their allegations to be true, Plaintiffs
12     cannot establish any probability of success because their claims fail as a matter of law.
13                         a)     Failure to Plead Fraud With Specificity
14           When a plaintiff’s claims sound in fraud, the heightened pleading standard of Rule
15     9(b) of the Federal Rules of Civil Procedure applies. “To satisfy Rule 9(b), a pleading
16     must identify the who, what, when, where, and how of the misconduct charged, as well
17     as what is false or misleading about the purportedly fraudulent statement, and why it is
18     false.” Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th
19     Cir. 2011) (quotation marks and brackets omitted). Under Rule 9(b), allegations must be
20     “specific enough to give defendants notice of the particular misconduct . . . so that they
21     can defend against the charge and not just deny they have done anything wrong.” Semegen
22     v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985).
23           Each of Plaintiffs’ claims is based on the allegation that Ironistic created websites
24     “contain[ing] significant disinformation intended to deceive the public . . . .” Compl., ¶
25
26     2
         Where an anti-SLAPP motion is based on legal deficiencies in the plaintiff’s complaint,
       the motion must be treated in the same manner as a motion under Rule 12(b)(6). Rogers
27     v. Home Shopping Network, Inc. 57 F.Supp. 2d 973, 983 (C.D. Cal. 1999). In ruling on a
       motion pursuant to Rule 12(b)(6), the court must take as true all factual allegations in a
28     complaint. Lauter v. Anoufrieva, 642 F.Supp. 2d 1060, 1076-77 (C.D. Cal. 2008).
                                                     10
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 1     81; see id. at ¶¶ 101(a), 108, 116, 124, 129. As such, each of their claims is subject to the
 2     heightened pleading standard for fraud imposed by Rule 9(b) of the Fed. Rules of Civil
 3     Procedure. See, e.g., BakeMark, LLC v. Navarro, No. CV 21-2499 JAK, 2021 WL
 4     2497934, at *16 (C.D. Cal. Apr. 24, 2021) (UCL); Ji Chang Son v. Tesla Motors, Inc., No.
 5     CV 16-2282 JVS, 2019 WL 4238874, at *4 (C.D. Cal. Apr. 15, 2019) (FAL); HGCI, Inc.
 6     v. Luxx Lighting, Inc., No. CV 19-570 PSG, 2020 WL 5913851, at *7 (C.D. Cal. Sept. 10,
 7     2020) (Lanham Act false advertising); G.U.E. Tech, LLC v. Panasonic Avionics Corp.,
 8     No. CV 15-789 CJC, 2015 WL 12696203, at *4 (C.D. Cal. Sept. 15, 2015) (trade libel);
 9     Townsend v. Chase Bank USA N.A., No. CV 08-527 AG, 2009 WL 426393, at *3-4 (C.D.
10     Cal. Feb. 15, 2009) (negligence).
11           Plaintiffs’ Complaint falls woefully short of this standard. Plaintiffs’ Complaint
12     does not describe the content of any of the three websites attributed to Ironistic. Plaintiffs’
13     Complaint also does not allege any facts concerning how any content on the three
14     websites attributed to Ironistic (or any social media site, whether attributed to Ironistic or
15     not) were false or deceptive. The only specific statement attributed to Ironistic is material
16     described as asking unnamed individuals to “Boycott Qatar Airways.” Compl., at ¶ 82.
17     Such a statement of opinion cannot be true or false and thus cannot be the basis for a fraud
18     claim. And the Complaint does not state where or how these statements were published;
19     it merely states that the material was “uploaded” to an unknown location.
20           In lieu of providing specific information required by Rule 9(b), Plaintiffs
21     conclusorily accuse Ironistic and the other Defendants of engaging in “disinformation.”
22     Without any meaningful factual specificity to back up this conclusory claim, merely using
23     the word “disinformation” is insufficient as a matter of law. See Mahnke v. Bayer Corp.,
24     No. 2:19-CV-7271 RGK, 2019 WL 8621437, at *8 (C.D. Cal. Dec. 10, 2019) (dismissing
25     claims based on “misinformation” under Rule 9(b)); ECF No. 44, at p. 16 (collecting
26     additional cases).
27
28

                                                     11
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 1                             b)   Plaintiffs’ Claims are Time-Barred
 2            Plaintiffs’ claims are all barred by the applicable statute of limitations. The
 3     following statutes of limitations apply to their claims:
 4                UCL – Four years after the cause of action accrued. Cal. Bus. & Prof. Code
 5                   § 17208.
 6                FAL – Three years after the cause of action accrued. Cal. Civ. Proc.
 7                   Code § 338.
 8                Lanham Act – Within three years. Jarrow Formulas, Inc. v. Nutrition Now,
 9                   Inc., 304 F.3d 829, 837 (9th Cir. 2002) (borrowing analogous state
10                   limitations period for purposes of determining timeliness of Lanham Act
11                   claim); Cal. Civ. Proc. Code § 338 (setting three year statute of limitations
12                   for false advertising claims).
13                Trade Libel – two years after the statement was published. Cal. Civ. Proc.
14                   Code § 339; see Guess Inc. v. Super. Ct., 176 Cal. App. 3d 473, 477-78 (1986)
15                   (two-year statute of limitations applies to trade libel directed to plaintiff’s
16                   business).
17                Negligence – two years after date of injury. Cal. Civ. Proc. Code § 339.
18            The latest-dated act attributed to Ironistic is the uploading of certain material on
19     May 21, 2017. Compl., ¶ 82.3 And Plaintiffs allege that they suffered harm no later than
20     “mid-2017.” Compl., ¶ 91. Thus, the longest limitations period of four years expired no
21     later than May 21, 2021. Plaintiffs’ August 2021 Complaint is therefore untimely with
22     respect to Ironistic.
23                             c)   Plaintiffs Fail to State a UCL Claim Against Ironistic
24            In addition to the above-described fundamental problems inherent to the entirety
25     of the Complaint and its allegations against Ironistic, Plaintiffs’ UCL claim fails as a
26
27     3
        Although the Complaint references certain material dated October 12 and October 14,
       2017 (Compl. at ¶ 83), Ironistic is not alleged to have created or have had any
28     involvement with such material.
                                                      12
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 1     matter of law for a host of additional reasons, all of which flow from a core fundamental
 2     flaw in Plaintiffs’ Complaint. California’s unfair competition law protects California
 3     consumers from business practices or representations that might harm those consumers.
 4     But Plaintiffs’ claim is unrelated to California, to California consumers, or to any
 5     business practice or representations targeting California consumers. Plaintiffs’ claim
 6     simply does not fit this statute.
 7                                (1)      Plaintiffs Lack Standing to Pursue a UCL Claim.
 8           Following the passage of Proposition 64, any plaintiff seeking to bring a claim
 9     under the UCL or FAL must allege facts establishing that they “lost money or property as
10     a result of the unfair competition.” See Cal. Bus. & Prof. Code § 17204; Cal. Bus. & Prof.
11     Code § 17535 (requiring plaintiffs to allege that they “lost money or property as a result
12     of a violation of this chapter”).
13           Plaintiffs have entirely failed to establish such standing.         First, and most
14     fundamentally, the Complaint establishes zero causal connection between Ironistic’s
15     alleged conduct and any injury to Plaintiffs. Ironistic is not alleged to have said anything
16     about Plaintiffs, or Plaintiffs’ products or services. The Complaint does not even allege
17     that any potential customer of Plaintiffs saw a single statement attributed to Ironistic.
18     Ironistic is only alleged to have created a website criticizing the country of Qatar.
19           Plaintiffs’ theory of causation is simply far too attenuated and speculative to
20     support standing to pursue a UCL claim. Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310,
21     322 (2011); Hall v. Time Inc., 158 Cal. App. 4th 847, 855 (2008). If Plaintiffs have
22     standing to pursue their UCL claim, any company whose business is tied to a country’s
23     reputation or popularity could sue anyone in the United States who criticizes that
24     country. That simply cannot be the case.
25           Second, Plaintiffs do not allege that they relied on any statement allegedly
26     published by Ironistic. The absence of such allegation independently dooms Plaintiffs’
27     UCL and FAL claims. See Bhrs Grp. v. Brio Water Tech., 2020 U.S. Dist. LEXIS 253575,
28     at *18-19 (C.D. Cal. Dec. 14, 2020) (dismissing UCL and FAL claim where plaintiff failed

                                                     13
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 1     to allege facts showing its own reliance, instead alleging that consuming public would be
 2     misled); Hall, 158 Cal. App. 4th at 855 (demurrer sustained for failure to allege reliance);
 3     Medina v. Safe-Guard Prods., Int’l, Inc., 164 Cal. App. 4th 105, 115 (2008) (“there [was]
 4     no allegation that Medina relied on Safe-Guard’s having a license as required by the
 5     vehicle service contract statutes, or that Safe-Guard’s unlicensed status caused him to part
 6     with the money he paid for the tire and wheel contract”); Durrell v. Sharp Healthcare,
 7     183 Cal. App. 4th 1350, 1363 (2010) (no causation where complaint “did not allege that
 8     “Durrell relied on either Sharp’s Web site representations or on the language in the
 9     Agreement for Services in going to Sharp Grossmont Hospital or in seeking or accepting
10     services once he was transported there. Indeed, the SAC does not allege Durell ever
11     visited Sharp’s Web site or even that he ever read the Agreement for Services.”)4
12           Finally, Plaintiffs lack standing to pursue their UCL claim because they are neither
13     consumers nor competitors of Ironistic. The UCL’s fundamental purpose is to protect
14     California consumers, although on occasion its reach can be extended to protect
15     competitors. See, e.g., Kasky v. Nike, Inc., 27 Cal. 4th 939, 949 (2002); Paulus v. Bob
16     Lynch Ford, Inc., 139 Cal. App. 4th 659, 676 (2006). But the UCL is not a vehicle for
17     lawsuits by “alleged victims [who] are neither competitors nor powerless, unwary
18     consumers.” Linear Tech. Co. v. Applied Materials, Inc., 152 Cal. App. 4th 115, 135
19     (2007); see also Nationwide Biweekly Administration, Inc. v. Super. Ct. of Alameda Cty.,
20     9 Cal. 5th 279, 303-304 & fn. 10 (2020).
21                               (2)    Plaintiffs’ UCL Claim is Barred for Extraterritoriality.
22           The California Supreme Court has held that “the presumption against
23     extraterritoriality applies to the UCL in full force.” Sullivan v. Oracle Corp., 51 Cal. 4th
24     1191, 1207 (2011) (“[n]either the language of the UCL nor its legislative history provides
25     any basis for conducting the Legislature intended the UCL to operate extraterritorially”);
26
       4
         A small number of decisions have suggested that a competitor may allege claims
27     under the UCL and FAL without alleging its own reliance. E.g., SPS Techs., LLC v.
       Briles Aerospace, Inc., No. CV 18-9536-MWF, 2019 WL 6841992, at *6 (C.D. Cal. Oct.
28     30, 2019). But Plaintiffs are not alleged to be, and are not, competitors of Ironistic.
                                                   14
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 1     see also Norwest Mortg., Inc. v. Super. Ct., 72 Cal. App. 4th 214, 225 (1999) (UCL cannot
 2     be basis for suit where, although defendant was California insurer, “the injuries [were]
 3     suffered by non-California residents, caused by conduct occurring outside of California’s
 4     borders, by defendants whose headquarters and principal place of operations [were]
 5     outside of California”); O’Connor v. Uber Techs., Inc., 58 F.Supp. 3d 989, 1007 (N.D.
 6     Cal. 2014) (UCL did not apply to work performed outside California by out-of-state
 7     Plaintiffs).
 8            In determining whether Plaintiffs’ UCL claim is extraterritorial and thus barred, the
 9     inquiry is focused on (1) whether the injury occurred in California and (2) whether the
10     conduct of Defendants occurred in California. Tidenberg v. Bidz.com, Inc., No. CV 08-
11     5553 PSG, 2009 WL 605249, at *4 (C.D. Cal. Mar. 4, 2009); see also In re Toyota Motor
12     Corp., 785 F.Supp. 2d 883, 917 (C.D. Cal. 2011) (“In determining whether the UCL and
13     CLRA apply to non-California residents, courts consider where the defendant does
14     business, whether the defendant’s principal offices are located in California, where class
15     members [here, the Plaintiffs] is located, and the location from which advertising and
16     other promotional decisions were made”).
17            But in this case, there are no allegation that the websites were developed in
18     California. Ironistic has its principal place of business in Virginia. Compl., ¶ 25; see also
19     In re Toyota, 785 F. Supp. 2d at 917-18 (dismissing UCL and CLRA claims because
20     Plaintiffs failed to “allege[] with sufficient detail that the point of dissemination from
21     which advertising and promotional literature that they saw or could have seen is
22     California”). Plaintiffs are also located outside of California. Even if Plaintiffs were to
23     allege that any California-based individual viewed the websites attributed to Ironistic,
24     such individuals are not alleged to have suffered any injury.
25                               (3)    Failure to Allege “Commercial Speech”
26            “California’s consumer protection laws, like the unfair competition laws, govern
27     only commercial speech.” Rezec v. Sony Pictures Entertainment, Inc., 116 Cal. App. 4th
28     135, 140 (2004) (discussing UCL and FAL claims) (citing Kasky, 27 Cal. 4th at 953-56)

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 1     disapproved on other grounds by FilmOn.com Inc. v. DoubleVerifiy Inc., 7 Cal. 5th 133,
 2     148 n.5 (2019). “Noncommercial speech is beyond their reach.” Id. Here, Plaintiffs have
 3     not identified any “commercial speech.” Even assuming this Court were to apply the
 4     factors set forth in Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60, 66-67 (1983),5 those
 5     factors show that no commercial speech is at issue. Although Plaintiffs vaguely and
 6     conclusorily claim that Ironistic created “advertisements” (Compl. at ¶ 84), Plaintiffs’ few
 7     factual allegations demonstrate otherwise. Plaintiffs do not allege that any statement
 8     created by Ironistic referred to Plaintiffs or their products. NewNet., Inc. v. Lavasoft, 356
 9     F.Supp. 2d 1090, 1117 (C.D. Cal. 2004) (“Speech is not advertising speech where it does
10     not promote the speaker’s product for sale or encourage a commercial transaction with
11     the user”). To the contrary, the statements Plaintiffs actually attribute to Ironistic are
12     clearly political speech. Id., at ¶ 82 (citing video linking Qatar to extremist groups). As
13     detailed above, Ironistic does not sell competing products or operate in the same business
14     sector as Plaintiffs.
15                               (4)    Failure to Plead Violation of “Unlawful” Prong of UCL
16            To plead a UCL claim based on the “unlawful” prong, a plaintiff must allege facts
17     sufficient to show a violation of law other than the UCL. In other words, a plaintiff must
18     allege facts sufficient to support a violation of the underlying law on which it bases its
19     UCL claim. Shin v. Campbell Soup Co., No. CV 17-1082-DMG, 2017 WL 3534991, at
20     *4 (C.D. Cal. Aug. 9, 2017). For all the reasons stated herein, Plaintiffs have failed to
21     allege a violation of any other law to support their UCL “unlawful” claim.
22                               (5)    Failure to Plead Violation of “Unfair” Prong of UCL
23            Courts have consistently held that a claim under the “unfair” prong of the UCL
24     cannot survive where it overlaps entirely with defective claims under the fraudulent and
25
       5
         The Bolger court considered three factors: (1) whether the speech is an advertisement,
26     (2) whether the speech refers to a particular product, and (3) whether the speaker has an
       economic motivation. Id. These factors apply only when there is a “close question” as
27     to whether the statement in question constitutes commercial speech. Dex Media W., Inc.
       v. City of Seattle, 696 F.3d 952, 958 (9th Cir. 2012). In this case, for the reasons
28     described herein, the question is not close.
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 1     unlawful prongs. Hadley v. Kellogg Sales Co., 243 F. Supp. 3d 1074, 1104-1105 (N.D.
 2     Cal. 2017) (citations omitted). Here, Plaintiffs’ claim under the unfair prong of the UCL
 3     is based entirely on the same conduct as their fraudulent and unlawful prong claims.
 4     Compl. ¶¶ 98-105 (citing same allegations as basis for fraudulent, unlawful, and unfair
 5     prongs of UCL claim). Thus, the Court should dismiss Plaintiffs’ claim under the unfair
 6     prong of the UCL for the same reasons it should dismiss the claims under the fraudulent
 7     and unlawful prongs.
 8                          d)   Plaintiffs Fail to State a Claim Under California’s False
                                 Advertising Law
 9
             Plaintiffs’ claim under the False Advertising Law (“FAL”) fails for many of the
10
       same reasons that their UCL claim fails. First, Plaintiffs’ claim fails for failure to allege
11
       any connection to California. Warner v. Tinder Inc., 105 F.Supp. 3d 1083, 1096 (C.D.
12
       Cal. 2015) (California does not permit extraterritorial application of either FAL or UCL
13
       including when advertisement at issue is published on website and mobile app; “[b]ecause
14
       [Plaintiff] does not allege that he viewed any advertisements as a consumer in California,
15
       his FAL claim . . . fails”); In re Toyota Motor Corp., 785 F.Supp. 2d at 918 (“Courts have
16
       recognized that the FAL is limited to application in California”); Churchill Village, L.L.C.
17
       v. GE Co., 169 F.Supp. 2d 1119, 1127 (N.D. Cal. 2000) (“only California consumers can
18
       proceed on a claim under the FA[L]”), aff’d, 361 F.3d 556 (9th Cir. 2004).
19
             Second, Plaintiffs lack standing to bring a claim against Ironistic under the FAL for
20
       the same reasons they lack standing to pursue a UCL claim. See Section IV(D)(1), supra;
21
       see also In re Outlaw Lab., LLP, 463 F.Supp. 3d 1068 (S.D. Cal. 2020) (“the FAL requires
22
       a plaintiff to plead their own reliance on the subject statements, not that of their
23
       customers”); Redbox Automated Retail, LLC v. Buena Vista Home Entm’t, Inc., 399
24
       F.Supp. 3d 1018, 1034 (C.D. Cal. 2019) (“[C]onsumer reliance, absent [Plaintiff]’s own
25
       actual reliance, is insufficient to confer statutory standing under California's false
26
       advertising law”).
27
28

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 1           Third, Plaintiffs fail to plead the elements of an FAL claim. To plead an FAL claim,
 2     Plaintiffs must allege (among other things) that Ironistic made a statement in connection
 3     with the sale or disposition of goods or services that was untrue or misleading. Cal. Bus.
 4     & Prof. Code § 17500. Plaintiffs do not plead that Ironistic made any statement “in
 5     connection with the sale or disposition of goods or services.” And as explained above,
 6     Plaintiffs fail to allege any facts explaining how any statement attributed to Ironistic was
 7     “untrue or misleading” and therefore fail to meet the heightened pleading standard
 8     imposed by Fed. R. Civ. Proc. 9(b). See Section III(B)(3)(a), supra; see also Ji Chang
 9     Son, 2019 WL 4238874 at *4 (applying Fed. R. Civ. Proc. 9(b) to FAL claim).
10                         e)     Plaintiffs Fail to Allege a Claim for Trade Libel
11           The claim of trade libel covers false statements about the quality of the plaintiff’s
12     goods and services. Films of Distinction v. Allegro Film Prods., 12 F.Supp. 2d 1068, 1081
13     (C.D. Cal. 1998) (trade libel relates to quality of products and services); Aetna Cas. &
14     Sur. Co. v. Centennial Ins. Co., 838 F.2d 346, 351 (9th Cir. 1988) (trade libel is directed
15     specifically at goods sold by plaintiff). But the Complaint does not allege that Ironistic
16     made a single statement about the quality of Plaintiffs’ goods and services; as noted above,
17     the Complaint does not allege that Plaintiffs’ goods or services are mentioned at all. The
18     handful of statements that are specifically identified – “Boycott Qatar Airways for their
19     human rights abuses,” “Expose Qatar’s links with extremists. Stop the flow of blood
20     money. #sanctionQatar,” and “ISIS is just one of Qatar’s many pawns. Uncover Qatar’s
21     links with extremists” (Compl. at ¶¶ 82-83) – have nothing to do with the quality of
22     Plaintiffs’ goods or services.
23           And apart from the few statements above, the Complaint fails to allege the specific
24     contents of any allegedly libelous statement made by Ironistic. “The general rule is that
25     the words constituting an alleged libel must be specifically identified, if not pleaded
26     verbatim, in the complaint.” Kahn v. Bower, 232 Cal. App. 3d 1599, 1612 n.5 (1991).
27
28

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 1                         f)     Plaintiffs Fail to State a Claim for Negligence
 2           Plaintiffs also fail to allege a claim for negligence against Ironistic.          Most
 3     fundamentally, the Complaint fails to articulate any basis for Ironistic to have any duty to
 4     Plaintiffs. Dillon v. Legg, 68 Cal. 2d 738, 740 (1968) (“the chief element in determining
 5     whether defendant owes a duty or an obligation to plaintiff is the foreseeability of the
 6     risk”). Plaintiffs’ alleged loss of business was not a foreseeable risk of Ironistic’s alleged
 7     creation of certain websites, which never mention Plaintiffs or their products or services.
 8     E.g., Zanger v. City of Pasadena, No. CV 06-5379 ABC (Ex), 2007 WL 9734351, at *3
 9     (C.D. Cal. Jan. 23 2007) (granting motion to dismiss negligence claim where plaintiff
10     failed to plead that alleged harm plaintiff was reasonably foreseeable consequence of
11     defendants’ alleged breach).
12           Recognizing their inability to allege any duty on Ironistic’s part, Plaintiffs instead
13     claim that the Foreign Agents Registration Act (“FARA”) somehow created a duty
14     running from all Defendants to Plaintiffs. See, e.g., Compl. at ¶ 129 (alleging conclusorily
15     that “Defendants breached their duty to Mosafer, in violation of FARA”). But the
16     Complaint does not contain any specific allegation that Ironistic violated FARA.
17           Further, FARA cannot possibly create a duty running from Ironistic to Plaintiffs.
18     To borrow a statutory standard to create the presumption of a standard of care (referred to
19     as negligence per se), Plaintiffs must allege the existence of certain prerequisites
20     including death or injury to person or property, which Plaintiffs do not allege here. See
21     Cal. Evid. Code § 669(a); see also Sanchez v. United States, 803 F.Supp. 2d 1066, 1070
22     (C.D. Cal. 2011) (elements of negligence per se claim include: “(1) the defendant violated
23     a statute, ordinance, or regulation of a public entity; (2) the violation proximately caused
24     death or injury to person or property; (3) the death or injury resulted from an occurrence
25     of the nature of which the statute, ordinance, or regulation was designed to prevent; and
26     (4) the person suffering the death or the injury to his person or property was one of the
27     class of persons for whose protection the statute, ordinance, or regulation was adopted”).
28

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 1                         g)     Plaintiffs Fail to Allege Ironistic’s Involvement in Any
                                  Conspiracy
 2
             In a futile attempt to cover the absence of any meaningful allegations against
 3
       Complaint, Plaintiffs allege the existence of a “Disinformation Conspiracy” and vaguely
 4
       allege that Ironistic was involved in this conspiracy. Compl., at ¶ 5. To begin with, any
 5
       attempt to create liability through a “conspiracy” allegation fails for the simple reason
 6
       that Plaintiffs fail to allege any underlying cause of action. Stansfield v. Starkey, 220 Cal.
 7
       App. 3d 59, 75-76 (1990) (conspiracy claim dismissed due to dismissal of fraud claim on
 8
       which it was based).
 9
             Moreover, the Complaint contains no factual allegations about Ironistic’s
10
       involvement in this conspiracy. No facts regarding how Ironistic became involved in such
11
       a conspiracy or with whom. And most critically, no factual allegation establishing that
12
       Ironistic reached an agreement of any kind with the other Defendants on any subject.
13
             This falls far short of the standard for pleading conspiracy. A conspiracy is not
14
       properly pled just because Plaintiffs allege that one existed. “Plaintiff’s recitation of the
15
       elements of civil conspiracy is not sufficient to sustain this theory of liability.” Bonner v.
16
       Select Portfolio Servicing, Inc., No. 10-00609 CW, 2010 WL 2925172, at *7 (N.D. Cal.
17
       July 26, 2010). This is particularly true here, where all of the underlying claims sound in
18
       fraud. Alfus v. Pyramid Tech. Corp., 745 F.Supp. 1511, 1521 (N.D. Cal. 1990) (internal
19
       citations omitted) (“In civil conspiracy actions, courts insist upon a higher level of
20
       specificity than is usually demanded of other pleadings” because of the “frequent presence
21
       of fraud as part of plaintiff’s claim”). “To survive a motion to dismiss, plaintiff must
22
       allege with sufficient factual particularity that defendants reached some explicit or tacit
23
       understanding or agreement. It is not enough to show that defendants might have had a
24
       common goal unless there is a factually specific allegation that they directed themselves
25
       towards this wrongful goal by virtue of a mutual understanding or agreement.” Id. Such
26
       allegations are entirely absent here.
27
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                                                    20
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 1                        h)     Gomosafer Lacks Capacity to Sue
 2           Plaintiff Gomosafer is not a corporation or an individual, and therefore lacks
 3     capacity to sue. Gomosafer admits to being “the online division” of a third-party
 4     corporation. See ECF No. 4 at 2; see also ECF No. 1 ¶ 19. In California,6 “A ‘division’
 5     of a corporation is a unit within the corporation and has no status as a separate ‘person’
 6     in the eyes of the law.” In re Marriage of Stephens, 156 Cal. App. 3d 909, 918 (1984);
 7     see also B-K Lighting, Inc. v. Vision3 Lighting, No. CV 06-2825 MMM, 2006 WL
 8     8421831, at *2 (C.D. Cal. Nov. 14, 2006) (citing cases). Thus, under California law,
 9     Gomosafer lacks the capacity to sue.7
10     IV.   PLAINTIFFS HAVE FAILED TO STATE ANY CLAIM UNDER
             FEDERAL OR STATE LAW UNDER FED. R. CIV. PROC. 12(B)(6)
11
             A.     For the Reasons Stated Above, the Court Should Dismiss Plaintiffs’
12                  State Law Claims Under Fed. R. Civ. Proc. 12(b)(6) for Failure to State
                    a Claim
13
             If the Court declines to strike Plaintiffs’ California state law claims under the anti-
14
       SLAPP statute, it should dismiss those claims under Federal Rules of Civil Procedure
15
       12(b)(6) for the reasons discussed above. Trendmood, Inc. v. Rabinowitz, No. 2:20-cv-
16
       10877-MCS-RAO, 2021 WL 8415954, at *4 (C.D. Cal. June 21, 2021) (denying motion
17
       to strike under the anti-SLAPP statute and granting alternative motion to dismiss).8
18
19
20
       6
21       Gomosafer’s capacity to sue is determined “by the law of the state where the court is
       located.” Fed. R. Civ. Proc. 17(b).
       7
22       Nor can Gomosafer rely on Fed. R. Civ. Proc. 17(b)(3)(A)’s exception, allowing
       federal claims to be brought by an “unincorporated association.” This exception applies
23     only to parties that operate “without a charter” (S. Cal. Darts Ass’n v. Zaffina, 762 F.3d
       921, 931 (9th Cir. 2014)), but a division of corporation “does operate with a charter—
24     the charter of the larger corporation. . . . Such a division is thus not an ‘unincorporated
       association’ under Rule 17(b)(3)(A).” Smartdoor Holdings, Inc. v. Edmit Indus., Inc., 78
25     F. Supp. 3d 275, 278 (D.D.C. 2015) (internal quotations and citations omitted).
       8
         Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, dismissal is required
26     when a complaint fails to set forth sufficient factual allegations that “raise a right to
       relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
27     (2007). A complaint must make “more than an unadorned, the-defendant-unlawfully-
       harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly,
28     550 U.S. at 555).
                                                    21
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 1           B.     The Court Should Dismiss Plaintiff’s Lanham Act Claim Under Fed.
                    R. Civ. Proc. 12(b)(6) For Failure To State A Claim
 2
             Plaintiffs’ Lanham Act Section 43(a) claim is yet another example of trying to fit
 3
       a square peg into a round hole. Nothing about Plaintiffs’ allegations suggest that
 4
       advertising is at issue; Plaintiffs fail to allege a single product or service that is being
 5
       advertised. Instead, the allegations in question relate to core political speech about
 6
       foreign policy and human rights. Not surprisingly, then, Plaintiffs fail to allege any of
 7
       the key elements of a Section 43(a) claim. See Rice v. Fox Broadcasting Co., 330 F.3d
 8
       1170, 1180 (9th Cir. 2003). In particular, the Complaint fails for the following reasons:
 9
             1.     No allegations of a false statement of fact by the defendant in a commercial
10
       advertisement or promotion about its own or another’s product.                Representations
11
       constitute commercial advertising or promotion under the Lanham Act when they are: (1)
12
       commercial speech; (2) by a defendant who is in commercial competition with plaintiff;
13
       (3) for the purpose of influencing consumers to buy the defendant’s goods or services;
14
       and (4) are disseminated sufficiently to the relevant purchasing public to constitute
15
       advertising or promotion within that industry. Id. at 1181.
16
             None of these factors are met. First, Plaintiffs have not identified any “commercial
17
       speech.” Rather, the statements attributed to Ironistic are political speech. If such
18
       material could be “commercial speech,” then so could any political statement that
19
       allegedly impacts a country’s economy, however tenuous the connection. That is not the
20
       law. NewNet, 356 F.Supp. 2d at 1117 (the Lanham Act “should not be read in any way to
21
       limit political speech”) (quoting Wojnarowicz v. Am. Family Ass’n, 745 F.Supp. 130, 141
22
       (S.D.N.Y. 1990)).9 Second, Ironistic is not alleged to be in competition with Plaintiffs.
23
       Third, Ironistic is not alleged to have created websites concerning Qatar for the purpose
24
       of influencing consumers to purchase any goods or services from Ironistic.
25
26     9
         Even assuming that the statements in paragraph 83 were attributed to Ironistic (which
       they are not), those statements also are not commercial speech. Statements like “Expose
27     Qatar’s links with extremists. Stop the flow of blood money. #sanctionQatar,” and
       “ISIS is just one of Qatar’s many pawns. Uncover Qatar’s links with extremists” are
28     clearly not commercial speech.
                                                     22
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 1           2.     No allegations to establish the statements actually deceived or had the
 2     tendency to deceive a substantial segment of its audience. As discussed above, this
 3     element is subject to the heightened pleading scrutiny under Fed. R. Civ. Proc. 9(b). See
 4     Section III(B)(3)(a), supra; HGCI, Inc., 2020 WL 5913851 at *7 (Lanham Act false
 5     advertising). And for the reasons stated above, Plaintiffs utterly fail to meet that standard.
 6     Id.   The Complaint contains no factual allegations explaining how any statement
 7     attributed to Ironistic was false or how, when or why a single person was deceived by
 8     such statement.
 9           3.     No allegations to establish the plaintiffs have been or are likely to be injured
10     as a direct result of the false statement, “To invoke the Lanham Act’s cause of action for
11     false advertising, a plaintiff must plead (and ultimately prove) an injury to a commercial
12     interest in sales or business reputation proximately caused by the defendant’s
13     misrepresentations.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 527 U.S.
14     118, 140 (2014). Thus, “a plaintiff suing under § 1125(a) ordinarily must show that its
15     economic or reputational injury flows directly from the deception wrought by the
16     defendant’s advertising; and that occurs when deception of consumers causes them to
17     withhold trade from the plaintiff.” Id. at 133 (emphasis added).
18           For the reasons already discussed above, the Complaint fails to allege anything
19     resembling a “direct” connection.         See Section III(B)(3)(c)(1), supra; see also
20     McLaughlin v. Homelight, Inc., No. 2:21-cv-05379-MCS-KES, 2021 U.S. Dist. LEXIS
21     177657, at *11 (C.D. Cal. Sept. 27, 2021) (dismissing plaintiff’s Lanham Act claim,
22     finding plaintiff’s “conclusory, speculative allegations of actual cause” insufficient to
23     establish injury flowing directly from alleged deception); Agency Y LLC v. DFO Global
24     Performance Comm. Ltd., No. SACV 20-1716 JVS(KESx), 2021 WL 2791616, at *6
25     (C.D. Cal. Apr. 22, 2021) (dismissing Lanham Act false advertising claim for failure to
26     allege injury flowing directly from alleged deception); Altair Instruments Inc. v.
27     Telebrands Corp., No. 2:19-cv-0897-SJO-JC, 2020 WL 1942320, at *5 (C.D. Cal. Mar.
28     31, 2020) (same).

                                                    23
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 1     V.    PLAINTIFFS SHOULD BE DENIED LEAVE TO AMEND
 2           “An amendment is futile when ‘no set of facts can be proved under the amendment
 3     to the pleadings that would constitute a valid and sufficient claim or defense.’” Missouri
 4     ex rel. Koster v. Harris, 847 F.3d 646, 656 (9th Cir. 2017) (quoting Miller v. Rykoff–
 5     Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988)). Here, no amount of detail Plaintiffs
 6     might add to their Complaint can change the fundamentally defective nature of their legal
 7     theory, and thus there is no reason to grant Plaintiffs an opportunity to replead.
 8     VI.   CONCLUSION
 9           Ironistic respectfully asks this Court to strike Plaintiffs’ UCL, FAL, trade libel, and
10     negligence claims against Ironistic, and to dismiss Plaintiffs’ Lanham Act claim for failure
11     to state a claim. Plaintiffs’ claims arise out of acts in furtherance of Ironistic’s right of
12     freedom of speech in connection with public issues and Plaintiffs are unable to
13     demonstrate a probability of success on any of their claims. In the alternative, Ironistic
14     asks this Court to dismiss Plaintiffs’ Complaint in its entirety with prejudice for failure to
15     state a claim.
16
        Dated: November 1, 2021              AKIN GUMP STRAUSS HAUER & FELD LLP
17
18
                                             By:     /s/ Hyongsoon Kim
19                                                 Hyongsoon Kim
20                                                 Attorneys for Defendant
                                                   THE IRON GROUP INC. D/B/A
21                                                 IRONISTIC.COM
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